Case 2:19-cv-00107-JS-SIL Document 17 Filed 04/10/20 Page 1 of 1 PageID #: 67
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
K-MEL T. GRIFFIN,

                          Plaintiff,
                                                                     JUDGMENT
        - against -                                                  CV 19-107 (JS) (SIL)

MS. FLUDD, NASSAU COUNTY
CORRECTIONAL CENTER, MEDICAL at
NASSAU COUNTY CORRECTIONAL
CENTER, INMATES (E1E) SATELLITE,
and OFFICER BLUM #3177,

                           Defendants.
-----------------------------------------------------------X

        A Memorandum and Order of Honorable Joanna Seybert, United States District Judge,

having been filed on January 9, 2020, sua sponte dismissing the Amended Complaint pursuant to

28 U.S.C. §§ 1915(e)(2)(B)((ii), 1915A(b), and denying in forma pauperis status for the purpose

of any appeal; and a Memorandum and Order of Honorable Joanna Seybert, United States District

Judge, having been filed on April 10, 2020, directing the Clerk of the Court to enter judgment and

close this case closed and denying in forma pauperis status for the purpose of any appeal, it is

        ORDERED AND ADJUDGED that plaintiff K-Mel t. Griffin take nothing of defendants

Ms. Fludd, Nassau County Correctional Center, Medical at Nassau County Correctional Center,

Inmates (E1E) Sate[l]lite, and Officer Blum; that the Amended Complaint is sua sponte dismissed

pursuant to 28 U.S.C. §§ 1915(e)(2)(B)((ii), 1915A(b); that in forma pauperis status for the

purpose of any appeal is denied; and that this case is closed.


Dated: April 10, 2020
       Central Islip, New York


                                                                     DOUGLAS C. PALMER
                                                                     CLERK OF THE COURT
                                                               BY:   /S/ JAMES J. TORITTO
                                                                     DEPUTY CLERK
